
520 N.W.2d 779 (1994)
246 Neb. 583
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
Timothy S. EGAN, Respondent.
No. S-90-1204.
Supreme Court of Nebraska.
September 2, 1994.
HASTINGS, C.J., and BOSLAUGH, CAPORALE, FAHRNBRUCH, LANPHIER, and WRIGHT, JJ.
PER CURIAM.
Timothy S. Egan was admitted to the practice of law in Nebraska in 1979. On October 16, 1990, Egan was charged in the U.S. District Court for the District of Nebraska with the felony offenses of conspiracy to distribute and possession with the intent to distribute methamphetamines, in violation of 21 U.S.C. §§ 846 and 841(a)(1) (1988). On December 14, Egan was temporarily suspended from the practice of law in Nebraska by order of this court.
On May 15, 1992, Egan was convicted in the U.S. District Court for the District of Nebraska of the above-mentioned felony offenses. Egan was sentenced to a term of incarceration of 15 years 8 months. The U.S. Court of Appeals for the Eighth Circuit subsequently upheld Egan's convictions, reported in U.S. v. Lucht, 18 F.3d 541 (8th Cir.1994).
On August 10, 1994, Egan voluntarily surrendered his license. Egan admitted that he was convicted as set forth previously and that such convictions violate Canon 1, DR 1-102(A)(1), (3), and (6), of the Code of Professional Responsibility as adopted by this court. Egan admitted his convictions violate his oath of office as an attorney.
Egan waived his right to notice, appearance, or hearing prior to the entry of this order. We accept Egan's surrender, and order him disbarred from the practice of law in the State of Nebraska, effective immediately.
JUDGMENT OF DISBARMENT.
WHITE, J., not participating.
